          Case 2:24-cv-00349-SAB                     ECF No. 9           filed 12/09/24      PageID.39          Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                                  for thH_                                EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                                                                                                              Dec 09, 2024
                                                                                                               SEAN F. MCAVOY, CLERK
              BRYAN PAUL HERNANDEZ
         (also known as Selene Violet Henderson),                    )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:24-CV-00349-SAB
                                                                     )
                                                                     )
ERIC CARPENTER, DOUG SAMS, and JOHN DOE #1,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff's Motion to Voluntarily Dismiss Complaint, ECF No. 7, is GRANTED.
u
              Plaintiff’s Complaint is DISMISSED WITHOUT PREJUDICE pursuant to Fed. R. Civ. P. 41(a).




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              Stanley A. Bastian




Date: December 9, 2024                                                       CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                             Sara Gore
